Case 2:05-Cr-20132-BBD Document 15 Filed 05/24/05 Page 1 of 2 Page|D 23

IN THE UNITED STATES DISTRICT COURT F"-ED 3'1'
FoR THE WESTERN I)ISTRICT oF TENNESSEE

 

 

  

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UNITED STATES oF AMERICA § n`o§§§t§t;,& ';§ezis§
§ =Hf_'fjj"c‘j-§'-“ "§":`:, _‘:-t,,£r>.;-`-'|_z,¢`;
vs. § CR. No. 05-20132 D
§ 21 U.s.c. § 846
I)Avn) ALANIS §
ORDER

On the£j_ day of 2 2 % , 2005 came to be heard the "Motion to Withdraw

As Counsel" of attorney CRISPIN (C.J.) QUINTANILLA, III, and it appears to the Court that
this motion should be:
GRANTED: / . DENIEI);
IT IS THEREFORE ORDERED that attorney CR]SPIN (C.J.) QUINTANILLA, III,

be hereby released and removed as Attorney of Record for defendant DAVID ALANIS

sIGNEI) oN THIS maj-3 day 0f7’7)a..f ,2005.

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UNITED sATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

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This notice confirms a copy ofthe document docketed as number 15 in
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Larry E. Copeland

OZMENT COPELAND & HAYS
138 N. Third St.

2nd Floor

1\/lemphis7 TN 38103

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Richardo L. Salinas
2011 North ConWay
1\/lission7 TX 78572

Honorable Bernice Donald
US DISTRICT COURT

